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                                   EXHIBIT 7
   l c.-xhibit� nos: I}
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                                                                        EURTON ELECTRIC
                                                Electric Motor Rewinding, and Repair Parts

                                         CUSTOMER CONTACT INFORMAif"ION UPDATE FOFf.M


   Co ,n Pa ny: -'�a.....),Jl (i.i,,,l.LJ\nl,.,l,
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   city, st., zIP:                \:;:.l.L\Cunrz.oc                                      Ml               4§0Q(
  Phone: Jld2}J.,L/S:]YJDJ:--                                                          Fax: Jlpvt3L619JC1
  Remit Address (if not the same)

  Company: ___;;....__---;-____...;..:__�-------
  Address:

  City, St., ZIP: -------"'--...;..;.______________,!,
  Phone: __________ Fax: ____;;;_.:._...;__.,;...;;:;:;:.._
  Emails Address (addresses you wish us to have on file)

             Sct\es@ �,wwoeLP,.C{nt'.r mD!7JY.Lo fY1
  Mail Contact:
 Accounting: \l..a ,Y't{ e✓
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 Repairs: SJ, \pS
 Sales:  ��\eS
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The above lnformat1on is current and is the best way of contacting us through normal business cornmunica;
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tions including: invoices, sales orders, pricing,, sales promotions, references, phone, facsimil
cials and catalog and brochure mailers, etc.
                                                                     c, and we are lool<ing forward to co
We have always enjoyed our business relationship with Eurton Electri
tinue working together with Eurton Electric for many years to come.
                                                                                                                                               MORE THAN (Optional Circle)
WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC FOR
                       1-5 years 5-10                                                   a0-20\                 )
                                                                                                                                         20-30                   30-40+
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                                   Electric Motor Rewinding, an

                              CUSTOMER CONTACT INFORMATIO UPDATE FORM


   Company: --+"6,.,e:1:ia...J:..u.L---->o:::u...i.�...u..-....J.;.....l!:JU..!!..1..---=.:=-�\.C.:::.:�=--+--­
   Address: _._.:........:...;:r--.-->L>J..........--4,.ol.J�___..'--"'""-"-'�=::;.......,=-<-J.-..----+----
   City, St., 21 P: ---1<c.::..;;::___,;:.....:......--l.,.L<1..a...:�----JL.l...d.-:::...=.=.!.....__-----1---
                          L0---r.
   Phone: 71>i- ]3!o-f5�3
   Remit Address (if not the same)
   Company: _________________--1---
   Address:       -----------------------
   City, St., ZIP: -----------------t----
   Phone: __________ Fax: -------t---
   Emails Address (addresses you wish us to have on file)
   Mail Contact:.....Jo..<>__.,,..........,q..<.L-L-1�.........w+-----------1---


   Repairs:-'--'�1...1-.L.J....J=1.....1.-=-""'-f"'-.L..U..:l:..!...l,�1--------+--­
   Sales:,...L.!.-=-i...L.1..�J-Ll�l='-l...l..W,,'----lc:Ll,I;+----------..,__-­
   Other:    --------------------t--
  The above information is current and is the best way of contacting u through normal business communica­
  tions including: invoices, sales orders, pricing,, sales promotions, r erences, phone, facsimile, e-mails, spe­
  cials and catalog and brochure mailers, etc.
   We have always enjoyed our business relationship with Eurton Elect ic, and we are looking forward to con­
   tinue working together with Eurton Electric for many years to come.
   WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC FOR                                           ORE THAN (Optional Circle)

                    1-5 years 5-10                            10-20                                                 30-40+



                                                                                                                        EE001411
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                                      EURTON ELECTRIC
                         Electric Motor Rewinding, and Repair Parts

                     CUSTOMER CONTACT INFORMAT/O rv UPDATE FORM


 Company: Sweinhart Electric
 Address: 7306 Melrose Street
 City, St., ZIP: Buena Park, CA 90621

 Phone: 714-521-9100                         Fax: 714-521-9300

 Remit Address (if not the same)
 Company:------------------+--­
 Address:    ---------------------1---
 City, St., ZIP: -------------------
 Phone ---------- Fax: ----------1---
 Emails Address (addresses you wish us to have on file)
 Mail Contact: Operations@sweinhartelectric.com
 Accounting:_________________-+---

 Repairs:_______ ______________
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 Sales:
 0ther -----------------------

 The above information is current and is the best way of contacting us through normal business communica­
 tions including: invoices, sales orders, pricing,, sales promotions, ref1 rences, phone, facsimile, e-mails, spe­
 cials and catalog and brochure mailers, etc.
 We have always enjoyed our business relationship with Eurton Electri , and we are looking forward to con­
 tinue working together with Eurton Electric for many years to come.
 WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC FOR M DRE THAN (Optional Circle)

              1-5 years 5-10                 10-20                  20-- 0                 30-40+


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                           Electric Motor Rewinding, an                          epair Parts




  Address: __.,...=c..:,J.........,..::;._-=�--�...£.#.,.__..!Ji(J,U...:,,=----.:.1���0-
  city, St., ZIP:                   IS
  Phone:     901- rzrzq..... Sk;J..              Fax: -J.-J.""-'-"""""'-'---"'-�
  Remit Address (if not the same)
  Company: ____________________
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  City, St., ZIP: -------------�---'---L---
  Phone: ---------- Fax: -------+-4----
  Emails Address (addresses you wish us to have on file)
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  Mall Contact:
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  tions including: invoices, sales orders, pricing, , sales promotions, ef rences, phone. facsimile, e-mails, spe­
  clals and catalog and brochure mailers, etc.




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  We have always enjoyed our business relationship with Eurton Ele tr c, and we are loo king forward to con­
  tinue working together with Eurton Electric for many years to com
  WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC FO                        ORE THAN (Optional Circle)
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                1-5 years 5-10                   J0-20           .. ·-��---2 _ 30                  30-40+




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                                                             EURTON ELECT                                               C
                                        Electric Motor Rewinding, and epair Parts
                                                   � t:t- .310-9� -OtJt'f
                                   CUSTOMER CONTACT INFORMATION UPDATE FORM


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   Address: -=;..L_.:.............:....,..:�----=------------+---

   City, St., ZIP:
   Phone: �/;,--
   Remit Address (if not the same)
   Company: ____________________
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   tions including: invoices, sales orders, pricing,, sales promotions, r ferences, phone, facsimile, e-mails, spe�
   cials and catalog and brochure mailers, etc.
   We have always enjoyed our business relationship with Eurton Ele ric, and we are looking forward to CQn-:
   tinue working together with Eurton Electric for many years to com
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   WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC FOR �ORE THAC:(Opti,�c

         .              1-5 years 5-10                                   10-Z0                               2 -30                       ·30-40+
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                                               EURTON ELECT
                                 Electric Motor Rewinding, and R pair Parts




        City, St., ZIP:         L JJ,v �oJ
        Phone: 't'l-S"-'113- "2-��-{\                  Fax:       '-i2� - "?/5'       5S8q
        Remit Address (if not the same)
        Company: ___..,£..----..::i.----.�-�=---.,__-
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        City, St., ZIP:
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        Emails Address (addresses you wish us to have on file)
        Mall Contact        S�oP @ M.CA../\.Or ��
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        Repairs: Ck "'I'                 MA/\o,r+lor-cl\JJ              , C O·N\

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        The above information Is current and Is the best way of contacting us through normal business communica­
        tions including: invoices, sales orders, pricing, • sales promotions, eferences, phone, facsimile, e-mails, spe­
        cials and catalog and brochure mailers, etc.
        We have always enjoyed our business relationship with Eurton El trlc, and we are looking forward co con­
        tinue working together with Eurton Electric for many years to_ co



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        WE HAVE BEEN WORKING TOGElHER WITH EURToti! ELECTRIC F R MORE THAN (Optional Circle)

                      l-5 years 5-10                                               0-30          30-40+




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                                                    EURTON ELECT IC
                                      Electric Motor Rewinding, and Repair Parts

                                   CUSTOMER CONTACT INFORMATIO UPDATE FORM


              Company: ��..ll.iµJ..ll.,:U::..�J'._��L.l....1...1-+L.-.L!...:..w..�f-i'-'-'......_..
              Address: _ =.l..!.::!-�il�__.,_2.L_------t---




              Remit Address (If not the same}
              Company:------------------+-­
              Address: -------------------+---­
              City, St., ZIP: ---------------+---
              Phone: __________ Fax: -------i----
              Emalls Address (addresses you wish us to have on file)


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               Repairs:--=�....LA--"""----------------'--­
               sales:   Sc�\      S

               Other: ___________________.J..-__

              The above lnformat1on is current and is the best way of contacting u through normal business communica­
              tions Including: invoices, sales orders, pricing, , sales promotions, re erences. phone, facsimile, e-mails, spe­
              cials and catalog and brochure mailers, etc.
               We have always enjoyed our business relationship with Eurton Elect ic, and we are looking forward to con­
               tinue working together with Eurton Electric for many years to come.
              WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC FOR                        ORE THAN (Optional Circle)

                             1-5 years 5-10                  �                        Z0 30                    30-40+




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   https://mail.google .com/maiUu/0/#inbox/FMfcgxwGCtOrKqJcrsBswwGchzBbTQjt?projector= 1 & essagePartld=0. 1
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                          Electric Motor Rewinding, an

                       CUSTOMER CONTACT INFORMAT/0 UPDATE FORM


  Company: -=-c�Ja.��...1....!..������..e::.�::::::::..-+-­
  Address: --��::?..:,l___,JL...!....:...J.���!:::3..!.�i...:_��!J:==+---
  City, St., ZIP: ......!::::'.'.��!:::!:::::?�����-..f.J!....���-+--­
  Phone: J � c:,n 7- S2«:l - 'tuS
  Remit Address (if not the same)
  Company: ______.:::::,.........,.,��a::::::::::::..______l------
  Address: _____..c::;.____________-+---
  City, St., ZIP: ----------------+---
  Phone: __________ Fax:                              ---------
  Emails Address {addresses you wish us to have on file)
  Mail Contact:._�I.Q:ll1&:i.-=-imi.a.a..41.L""""-'u+�?-t-��;'.l!-dl!::1.x::l.f'-<-:��
  Accounting:__________________,____
  Repairs:_    _z.___________________




  Sales:._---..1;,..:;....___________________
  Other:   ---------------------
  The above information is current and is the best way of contacting s through normal business communica­
  tions including: invoices, sales orders, pricing, , sales promotions, r erences, phone, facsimile, e-mails, spe­
  cials and catalog and brochure mailers, etc.
  We have always enjoyed our business relationship with Eurton Ele ic, and we are looking forward to con­
  tin·ue working together with Eurton Electric for many years to come.
  WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC FOR                      ORE THAN (Optional Circle)

                1-5 years 5-10                  10-20



                                                                                                    EE001447
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                       Electric Motor Rewinding, an

                    CUSTOMER CONTACT INFORMAT/0 UPDATE FORM



 Irvin Martinez- Sales

 Gustin Hydraulics, Inc.

 151 West Commonwealth Ave. Salt Lake Cit Utah 84115

 www.Gustinlnc.com / www.StoneH draulicStore.c m
 1-866-653-2828 Ext: 8


 irvin@gustininc.com




The above information is current and is the best way of contacting s through normal business communica­
tions including: invoices, sales orders, pricing, , sales promotions, r ferences, phone, facsimile, e-mails, spe­
cials and catalog and brochure mailers, etc.
We have always enjoyed our business relationship with Eurton Elec ric, and we are looking forward to con­
tinue working together with Eurton Electric for many years to come
WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC FOR                  ORE THAN (Optional Circle)

             1-5 years 5-10                 10-20                                         30-40+

                                                                                              EE001451
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                   Electric Motor Rewindin                           air Parts
                                                                               Fax: 562-946-0014
  www.eurtonelectric.com                                                info@eurtonelectric.com




                                   ARMATURE, COIL & STATO
                                        REWINDING
        MOTOR BRUSHES                                                        CAPACITORS


  Eurton Electric has had permission to contact us via: phone calls, faxes, emails, and mailings.
  Sending flyers, catalogs, postcards, etc. to keep us informe on the latest rewinds, repair
  parts, products, sales and specials offered from time to tim


  We have always enjoyed our working relationship with Eur on Electric and they have had this
  permission for more than 5 years, and we are looking forw rd to continue working together
  with Eurton Electric for many years to come.


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                               JZ:�-/4-€,c)
                                                              date    06/2B/2oI a
  (name/signature}                       ··,


  Company:
  Address:          19442

  City, St, ZIP:
  Phone:             313 36603830




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                                        EURTON ELECTR C
                           Electric Motor Rewinding, arid epair Parts

                       CUSTOMER CONTACT INFORMATION UPDJ.lTE FORM


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   city, st., z1P:       c; u .s     ro r      v            x_

   Phone:   7/� %1.:,</- Jcfc/4-- Fax: -------
                                       -J/�    --+---
   Remit Address (if not the same)

   Companv: __________________;.--+--
   Address:   -----------------+---­
   City, St., ZIP: ----------------+---

   Phone: --------- Fax: ------+---
   Emails Address (addresses you wish us to have on file)

   Mail Contact:       :3 IJ. /€$
   Accounting:           /II'/                 £? r1219 D r)
   Repairs=-------------------+---
   Sales: __________________-+---
   Other:__________________+--_

   The above information Is current and is the best way of contacting u through normal business communica­
   tions including: invoices, sales orders, pricing,, sales promotions, :re erences, phone, facsimile, e-mails, spe­
   cials and catalog and brochure mailers, etc.
   We have always enjoyed our business relationship with Eurton Ele.ct le, and we are looking forward to con­
   tinue working together with Eurton Electric for many years to come.
   WF. HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC FOR                 ORE THI\N (Optional Circle)

                1-5 years 5-10               (!£Ii}                   �o 30                  30-40+



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                                                    EURTON ELECT IC
                                  Electric Motor Rewinding, an Repair Parts

                             CUSTOMER CONTACT INFORMATIO UPDATE FORM


  Company: -W.L.;�..LL.L.--1,...+-�c<..L...LLI....J'..J,.,,!,_-,:a_--'---'-''-'-'"----'-----+--­
  Add ress: ____c;.c.....;;;._.___._"-'--'-j'-4-,.�-=----'-'-'L..Jo...-.L-LLfr."f----'-----t---­
  City, St., ZIP: ---l,..£..1,LL...l.Q.---'-'U.U--'-1,,-L!..-----'-':....:.tlL..-�----'-...;.:.....,,"----+---
  Phone:         :j:P-5f:}:f2 -�3 0 >
   Remit Address (if not the same)
  Company: _______________ _____
  Address:       ---------------------
  City, St., ZIP: ----------------t---
  Phone:       ---------- Fax: --------+---
   Emails Address (addresses you wish us to have on file)
   Mail Conta ct:._1,,.<.-U-.IL..:j..l.4:L--L,.�..+,.I�--"�;....L..l,,-L..!--1.'------+----
  Accounti ng:____________________

   Repairs:_____________________
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  The above information is current and is the best way of contactin us through normal business communica­
  tions including: invoices, sales orders, pricing,, sales promotions, eferences, phone, facsimile, e-mails, spe­
  cials and catalog and brochure mailers, etc.
  We have always enjoyed our business relationship with Eurton El ctric, and we are looking forward to con­
  tinue working together with Eurton Electric for many years to co e.
  WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC F R MORE THAN (Optional Circle)

                    1-5 years 5-10                         �                                                     30-40+


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                                         EURTON
                           Electric Motor Rewindin

                        CUSTOMER CONTACT INFOR


    Company: --->-....c..;:::::..!>-�------1...,;;...-=--=-----=------;-1---�1--­
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    City, St:, ZIP: 1::,e-s I{\--\ l
    Phone: S\_15" ...���
    Remit Address (if not the same)
   Company:       ---------------1-1---+---
   Address: ----------------++-----4--­
    City, St.; ZIP: --------------+-+---+--
    Phone: ---------- Fax: -----++--�-
    Emails Address (addresses you wish us to have on fil
    Mail Contact:    b                           - OQ\Jf> �
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    Repairs:_,...p,,,,�:.:c.....L---�---------!-1----r--+-­
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    tions including: invoices, sales orders, pricing, , sales promotio s, refer nces, honJ ,facsimile, e-mails, spe-
    cials and catalog and brochure mailers, ere.
    We have always enjoyed our business relationship.with Eurton Electric, and w are·' eking forward to con-
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    tfnue working together with Eurton Electric for'many years to me.               J

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    WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC                                 (O: ·onal Circle)

                  1-5 years 5-10                1.0-ZO



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                                                 EURTON ELECT IC
                                Electric Motor Rewinding, and Repair Parts

                            CUSTOMER CONTACT INFORMAT/0 UPDATE FORM


   Company:
   Address: _........._-=--......:;....>.qJ,---'-'-"""---'---<..:..---------11----
   City, St., ZIP:      1           '1 �         r.:i
   Phone: fJOfi-q (p3·}ff:?
   Remit Address {if not the same)
   Company:                     (L- ---ri)-u(           ihJ




   Emails Address (ad�resses you wish us to have on file)
   Mail Contact:


   Repairs:_____........,..,_,___...__...__..__,____.___-=-�-=.v"""Jz  }.::;..J__.c
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   Other:   --------------------+--
   The above information is current and is the best way of contacting s through normal business communica­
   tions including: invoices, sales orders, pricing, , sales promotions, r ferences, phone, facsimile, e-mails, spe­
   cials and catalog and brochure mailers, etc.
   We have always enjoyed our business relationship with Eurton Elec ric, and we are looking forward to con­
   tinue working together with Eurton Electric for many years to com
   WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC FOR MORE THAN (Optional Circle)

                   1-5 years 5-10                         10-20                                           30-40+



                                                                                                             EE001473
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                                          EURTON ELECT IC
                          Electric Motor Rewinding, an

                           CUSTOMER CONTACT INFORMA ION UPDATE
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    Longo Electrical-_!v1echanical
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l (973} 537-0400
I (973) 537-0404 fax              !
,cshaefer@elongo.com          ___
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The above information is current and is the best way of contacting s through normal business
communications including: invoices, sales orders, pricing, , sales p motions, references, phone, facsimile,
e-mails, specials, catalog and brochure mailers, etc.                                     EE001476
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                                      EURTON ELECTRIC
           Electric Motor Rewinding, and Repair Parts

            CUSTOMER CONTACT INFORMATION UPDATE
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·mation is current and is the best way of contacting us through normal business
1s including: invoices, sales orders, pricing,, sales promotions, references, phone, facsimile,
Is, catalog and brochure mailers, etc.                                         EE001482
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                                                EURTON ELECTR C
                             Electric Motor Rewinding, and epair Parts

                         CUSTOMER CONTACT INFORMATION PDATE FORM


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  tions Including: invoices, sales orders, pricing, , sales promotions, ref rences, phone, facsimile, e-mails, spe­
  cials and catalog and brochure mailers, etc.
  We have always enjoyed-our business relationship with Eurton Electri , and we are looking forward to con­
  tinue working together with Eurton Electric for many years to come.
  WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC FOR ORE THAN (Optional Circle)

                  1-5 years . 5-10               �                                                30-4o+



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                        Electric Motor Rewinding, and epair Parts

                    CUSTOMER CONTACT INFORMAT/0 UPDATE FORM




Jose Garcia
Westside Building Material
Purchasing - Industrial
1111 E. Howell Ave. Anaheim,CA 92805
CELL #714-420-8263
Fax#714-939-201
jga rcia@westsidebmc.com




The above information is current and is the best way of contacting s through normal business communica­
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We have always enjoyed our business relationship with Eurton Ele ric, and we are looking forward to con­
tinue working together with Eurton Electric for many years to com
WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC FO MORE THAN (Optional Circle)

             1-5 years 5-10                 10-20                                         30-40+

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                                                                                                              ,j�� 2680 E. Church Avenue
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                                                      EURTON ELECT IC
                                    Electric Motor Rewinding, an

                               CUSTOMER CONTACT INFORMAT/0 UPDATE FORM


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    tions including: invoices, sales orders, pricing, , sales promotions, r ferences, phone, facsimile, e-mails, spe­
    cials and catalog and brochure mailers, etc.
    We have always enjoyed our business relationship with Eurton Elec ric, and we are looking forward to con­
    tinue working together with Eurton Electric for many years to com
    WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC FOR MORE THAN (Optional Circle)

                      1-5 years 5-10                            10-20                          2 -30                 30-40+



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                                         EURTON ELECT IC
                           Electric Motor Rewinding, and Repair Parts

                       CUSTOMER CONTACT INFORMAT/O UPDATE FORM


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                 £.,r-,�TJ/At.U 'JcvL e 6-J?'?/IIL - c�
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  The above information is current and is the best way of contacting u through normal business communica­
  tions including: invoices, sales orders, pricing, , sales promotions, re erences, phone, facsimile, e-mails, spe­
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  tinue working together with Eurton Electric for many years to come.
  WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC FOR                      ORE THAN-(Optional
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               1-5 years 5-10                   10-20                                         30-40+


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